Case 1:05-cr-100lO-.]DT Document 32 Filed 07/28/05 Page 10f2 Pag@__t<%SB

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IN THE UNITED STATES DISTRICT COURT ,?_ 95 0
FOR THE WESTERN DISTRICT OF TENNESSE€?§>’F“` / §;.-: y y '°/?/_ 'C.‘
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UNITED srATEs or AMERICA, H/%
Plaintiff,
vs. NO. 05-10010-r
TED CARRoLL,
Defendant.
oRDER CoNTlNUING TRIAL
AND EXCLUDING DELAY

Upon telephonic motion of counsel for defendant Ted Carroll, With no objection from
the government and for good cause shown, the trial date Which is currently scheduled for
August l, 2005, is hereby continued. Defendant contends that additional time is needed for
preparation for the trial.

The court finds that the defendant’s need for a continuance for additional preparation
outweighs the best interests of the public and the defendant in a speedy trial; therefore, the ends
of justice Will be served by granting a continuance in order to allow the defendant more time to
prepare for trial. Accordinglv. the trial is continued from August l. 2005. to August 22q 2005`
at 9:3() A.M. The resulting period of delay, from August l, 2005, to August 22, 2005, is
excluded pursuant to 18 U.S.C. § 3161(h)(8)(A).

IT IS SO ORDERED.

Q&l/WZF.M

JAME . TODD
UNIT STATES DISTRICT IUDGE

96 C)f/f/Aa W~Y

DATE

 

Thls document entered on the docket sheet tn compliance
with Hule 55 and!or 32(b) FRGrP on

 

DISTRIC COURT - WESTERN

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ENNESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

